Case 5:97-cr-00003-LGW-BWC Document 1717 Filed 08/23/05 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COUR T
                    FOR THE SOUTHERN DISTRICT OF GEORGIA FIL D
                              WAYCROSS DIVISION
                                                          SWI .K V f,

                                                                  10,15 U6 2~
                                                                           2 P       21 +
UNITED STATES OF AMERICA

              V.

DERRICK WELLS


                                         ORDE R


        The United States Probation Office has filed a Report alleging that Defendant
Derrick Wells violated the conditions of his supervised release . Defe dant was

subsequently arrested, and counsel was appointed to represent him . Defen ant Wells,

after consultation with counsel, filed a "Waiver of Right to Preliminary evocation
Hearing . "

        Accordingly, it is hereby ORDERED that Defendant Wells be held for a revocatio n
hearing .
                                   r /

        SO ORDERED , this Z '"dray of August, 2005 .



                                          J MES E . GRAHAM
                                            NITED STATES MAGISTRATE JUDGE
     Case 5:97-cr-00003-LGW-BWC Document 1717 Filed 08/23/05 Page 2 of 2


                          United States District Court
                                  Southern District of Georgia
     UNITED STATES OF AMERIC A

               vs .                                         CASE NO . CR597-3
     DERRICK WELLS



The undersigned, a regularly appointed and qualified deputy in the office of this Clerk of th
District, while conducting the business of the Court for said Division does hereby certify th
following :
          I         Pursuant to instructions from the court, and in the performance of my officia
                    duties, I personally placed in the U .S . Mail a sealed envelope bearing the la l
                    frank of the Court, and properly addressed to each of the persons, parties or
                    attorneys listed below;
                    and
         2 . That the aforementioned envelope(s) contain a copy of the documents know as
                  ORDER dated 8/23/05                                            , whic is
                 part of the official records of this case .

Date of Mailing :      8/23/05
Date of Certificate : 8/23/0 5


                                                          SCOTT L . POFF, CLER K

                                                          By

NAME :
1.   Fred Krame r
2.   Neal L . Conner Jr
3.   Derrick Well s
4.
5.
6.
7.


     Cert/Copy                                                   Cert/Copy
      ❑ ❑ District Judg e                                         ❑ ❑      Dept . of Justic e
      ❑ ® Magistrate Judge                                        ❑ ❑ Dept . of Public Safety
      ❑ ❑ Minutes                                                 ❑ ❑      Voter Registrar
      ❑     l U .S . Probatio n                                   ❑ ❑      U .S . Court of Appeals
      ❑ ® U .S . Marsha l                                         ❑ ❑ Nicole/Debbi e
      ❑ ❑ U .S . Attorney                                         ❑ ❑      Ray Stalvey
      ❑ ❑ JAG Office                                              ❑ ❑      Cindy Reynolds
